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                                                                March 17, 2010

        Mr. Mark Zanichelli
        Chief Deputy Clerk
        United States Court of Appeals
               for the Fourth Circuit
        501 United States Court House Annex
        1100 East Main Street
        Richmond, VA 23219-3517

                 RE:      United States v. Paulette Martin, et al.
                          4th Circuit No. 07-4060

        Dear Mr. Zanichelli:

                        Thank you for your letter of March 16, regarding my client’s request for
        transcripts. As I have informed her repeatedly, after a 12 week trial, the transcript runs in excess
        of 7,000 pages, filling several boxes, and I have explained to her further that she needed to
        request that the Court approve her request for the transcript in light of this and the $75.00 limit
        imposed upon appointed counsel. It is my understanding that such request cannot come from
        counsel, who otherwise routinely would request same in every appeal.

                        The language of your letter, and of Ms. Henry’s letter of November 25, does not
        provide leave for me to exceed the $75.00 limit. Nor does it appear that there is an implicit
        recognition of the size of the transcript in these letters, which Ms. Martin has not referenced in
        any of her requests to either court, although she has continued to make application for the
        provision of transcripts to the district court. I therefore fail to understand how Ms. Martin is
        “entitled to receive” anything from this office at this point in time.

                        Accordingly, I write to clarify this status, and to inform you that, between copying
        costs, and my time required to have the copies prepared and shipped commercially, the cost for
        this certainly will exceed $1,500.00. Per the requirements of the CJA, I require advance
        authorization to undertake this, and likewise will need to submit a CJA 21 to the Court for
        reimbursement in advance of the resolution of this appeal. Please accept this as a request for
        formal approval of such from the Court on behalf of all five appointed counsel in this matter.
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        Mr. Mark J. Zanichelli
        Chief Deputy Clerk
        March 17, 2010


                       Thank you for your attention to this. Please contact me should you have any
        further questions.

                                                           Very truly yours,

                                                                   /s/


                                                           Michael D. Montemarano


        MDM/ap

        cc:    all appointed counsel
